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                     EXHIBIT 12
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                                                                                                           
Home / Services / Consumer Health / Food Permits




  Charitable Feeding

  The recognized charitable food service provider program is a voluntary program
  whose goal is to provide coordination of operations to organizations that serve
  homeless individuals. The Coalition for the Homeless of Houston/Harris
  County and the Houston Health Department are collaborating on this program.


     Phone: 832-393-5100                                                                                




     Email                                                                                              




     Registration Form                                                                                  




  The Program Consists of Four Basic Steps

     1. Register the formal or informal food service organization. Registration includes contact
        information, proposed schedule, location and proposed food to be served.
          1. Register your organization.
     2. Get free, food handling training for the food service organization. The training also
        includes information from the Coalition for the Homeless of Houston/Harris
        County about working with the homeless and referral information for additional
        services needed by the homeless.
     3. Get property owner consent. The only mandatory step is a requirement to obtain owner
        consent before using either public or private property for food service of more than five
        people. This is required for both registered and non-registered food service operations.
     4. Schedule your food service. Coordination of location and times of food service to
        maximize the distribution of food throughout the week.
          1. To schedule your food service, call 832-393-5100.

                                                                                          COH 000012
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   City of Houston Properties Approved for Charitable Food Service Events

        61 Riesner St., Houston, TX 77002


   Food Service Event Calendar
   Charitable Feeding
    Today               June 2023            Print Week        Month        Agenda
       Sun        Mon         Tue          Wed        Thu        Fri           Sat
             28         29          30           31    Jun 1            2             3




              4          5           6            7        8            9            10
     1pm Ondre                                                              10:30am En




             11         12          13           14       15           16            17
                                                                            6am Doing




             18         19          20           21       22           23            24




             25         26          27           28       29           30        Jul 1




    Events shown in time zone: Central Time - Chicago                       Calendar




Food Handling Training

   The food handling training is free of charge to food service organizations.
   Classes are conducted the third Saturday of each month through virtual training from
   12-2 p.m., beginning August 2020.

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    To register, call 832-393-5100 or email CHS@houstontx.gov. Please provide your email
    address to receive an invitation.

Special Requirements

Each approved charitable food service location on City of Houston property must have the
following:

 1. Adequate parking for the personnel conducting the food service event. The minimum
    number of parking spaces shall be ten (10) dedicated spaces during charitable food
    service events.
 2. Adequate trash containment to contain all trash, refuse, and litter on the site of the food
    service event.
 3. Two (2) portable restrooms with handwashing stations available during food service
    events and available 24 hours per day, seven (7) days per week.

Each approved charitable food service provider on City of Houston property must have the
following:

 1. Adequate personnel to conduct the food service event and restore the site at the
    conclusion of the food service event.
 2. Adequate trash receptacles, trash containment and removal measures to contain all
    trash, refuse, and litter on the site of the food service event and to properly dispose of
    all trash, refuse, litter and remove unused foods from the site at the conclusion of the
    food service event.
 3. Adherence to guidelines for food preparation, transport, serving, handling, storage and
    packaging in accordance with the FDA model food code/Houston Food Ordinance.

History

In the spring of 2012, the Houston City Council approved an ordinance establishing a
voluntary program to coordinate outdoor food service operations for the homeless. The
ordinance was the result of months of discussion among various city departments, homeless
service agencies, law enforcement, homeless food service organizations and private
property owners and managers.

The intent of the ordinance was three pronged:
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    to improve the quality, quantity, and distribution of food provided outdoors;
    to expand the opportunities for the homeless to connect with service providers; and
    to reduce the disproportionate environmental impact of food service operations on
    public and private property.



Coalition for the Homeless of Houston/Harris County

The Coalition for the Homeless of Houston/Harris County is a private, nonprofit organization
whose mission is to lead in the development and implementation of community strategies
to prevent and end homelessness. In 1982, at the request of then Harris County Judge Jon
Lindsay and Houston Mayor Kathryn Whitmire, the Coalition for the Homeless of
Houston/Harris County was founded by area homeless social services for an exploding
number of people who became homeless as a result of local economic deterioration. In
1988, the Coalition for the Homeless of Houston/Harris County incorporated as a 501(c)(3).



Permit Contacts

Permit Document Search

EMS Permits

Food Permits

   Changing Ownership of a Food Establishment

   Food Manager and Food Handler Certification

   Frequently Asked Questions

   Opening a Food Establishment

   Mobile Food Units

   Post-Disaster Food Safety

   Charitable Feeding
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   Food Service Participation Form

   Frequently Asked Questions

   Temporary Food Permits

Pool Permits

Special Waste Permits

Form: Emergency Preparedness Plan

Form: Emergency Reporting

Form: Foodborne Illness

Forms: Complaints/Comment


Resources

    Charitable Food Service Participation Form
    Charitable Feeding Frequently Asked Questions
    Charitable Feeding Ordinance
    Registered Charitable Food Service Groups
    Food Safety Class Schedule


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  311 Help and Info   CitizensNet   City of Houston     City of Houston FAQ   Notice of Privacy Practices
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